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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )
                                             )
             -vs-                            )      No. M-24-760-SM
                                             )
NASIR AHMAD TAWHEDI,                         )
    a/k/a “@Abu_Omir”                        )
                                             )
                    Defendant.               )

                    NOTICE OF CONSULAR NOTIFICATION

      COMES NOW the plaintiff, United States of America, by Robert J. Troester, United

States Attorney for the Western District of Oklahoma, through Matt Dillon, Assistant

United States Attorney, and files this Notice that the plaintiff notified the Consulate of

Afghanistan on October 9, 2024, by email that the defendant, a national of Afghanistan,

had been arrested/detained and the procedure for consular access to defendant.


                                             Respectfully submitted,

                                             ROBERT J. TROESTER
                                             United States Attorney

                                             s/MATT DILLON
                                             Assistant U.S. Attorney
                                             Bar Number: 19321
                                             210 Park Avenue, Suite 400
                                             Oklahoma City, Oklahoma 73102
                                             (405) 553-8700 (Office)
                                             (405) 553-8888 (Fax)
                                             Matthew.Dillon@usdoj.gov
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                            CERTIFICATE OF SERVICE


       I hereby certify that on October 9, 2024, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice
of Electronic Filing to the following ECF registrant(s): Craig M. Hoehns.

                                                    s/MATT DILLON
                                                    Assistant U.S. Attorney




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